                           THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  SOUTHERN DIVISION
                                 CASE NO. 7:21-cv-00188-D


 S.J., T.J., and S.L.J., Minors, by their Guardian
 ad Litem, LINDSEY JOHNSON, SCOTT
 JOHNSON, and LINDSEY JOHNSON,

        Plaintiffs,
                                                              [PROPOSED] ORDER
        v.

 LENDLEASE (US) PUBLIC PARTNERSHIPS
 LLC; ATLANTIC MARINE CORPS
 COMMUNITIES LLC; and AMCC
 PROPERTY MANAGEMENT LLC,

        Defendants.


       Pending before the Court is Plaintiffs’ Motion to Compel Production (Dkt. 85). After

reviewing the Motion and the authority cited therein, the Court finds that the Motion should be

GRANTED, and the Defendants’ will produce data and documents concerning complaints of mold

and water damage in AMCC homes at Camp LeJeune from 2015-2022.

       It is SO ORDERED.



       Signed this ____ of ___________, 2021.

                                                     ________________________________
                                                     DISTRICT JUDGE JAMES C. DEVER, III




             Case 7:21-cv-00188-D Document 89 Filed 03/14/23 Page 1 of 1
